                     Case 1:16-cr-00363-JKB Document 841 Filed 06/05/19 Page 1 of 1

                                        JENIFER WICKS
                                            AT T O R N E Y AT L AW
MARYLAND OFFICE:                                                                           DISTRICT OF COLUMBIA OFFICE:
(Federal Practice Only)                                                                               The Jenifer Building
6909 Laurel Avenue Suite 5419                                                            400 Seventh Street N.W. Suite 202
Takoma Park, MD 20913                                                                             Washington, D.C. 20004
TELEPHONE: (240) 468-4892                                                                     TELEPHONE: (202) 393-3004

EMAIL: Jenifer@JWicksLaw.com
FACSIMILE: (202) 478-0867


                                                        June 5, 2019

          The Honorable James K. Bredar
          Chief District Judge
          U.S. District Court for the District of Maryland
          101 W. Lombard Street
          Baltimore, MD 21201

          RE:       United States v Marquise McCants, 16-363

          Dear Judge Bredar:

                    Mr. McCants’ sentencing is scheduled for June 20-21, 2019.

                   Mr. Martinez and I recently consulted and we are jointly requesting that we be allowed
          to file our respective sentencing memorandum on or before June 10, 2019.

                 In addition, while Jencks and other disclosures are being made on June 6, 2019, defense
          counsel are agreeing to not share this information with Mr. McCants until on or after June 13,
          2019.

                 Thank you in advance for your consideration of this joint request. With kindest regards,
          I remain

                                                        Sincerely yours,

                                                        Jenifer Wicks
                                                        JENIFER WICKS
